     Case 1:15-cr-00063-DHB-BKE Document 163 Filed 07/30/20 Page 1 of 2

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                             IN   THE     UNITED    STATES DISTRICT               COURT            AUGUSTA 0!V.
                           FOR     THE    SOUTHERN DISTRICT                OF GEORGIA
                                              AUGUSTA DIVISION                               20JUL30 PH 2*08

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UNITED STATES OF AMERICA                                                                          SO.DIST. cn GA.
                                                          'k



        V .                                                                CR   115-063


WILLIE        WILLIAM        SMITH




                                                   ORDER




        On     July 21,           2020,       the Court denied Defendant Willie William

Smith's motion for compassionate release.                                       Presently,       he has filed

a motion           for   reconsideration.

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             [N] o       statute         or     Federal         Rule        of     Criminal         Procedure


authorizes the filing of a motion for reconsideration in a criminal
        II
case.
               United States v.                Vives,     546 F.           App'x 902,      905     (11th Cir.

2013) .         Yet,      the      Eleventh        Circuit           has    permitted      the     filing          of

motions        for       reconsideration           in    criminal           cases.       United    States          v.


Phillips,            597 F.3d 1190,            1199-1200        (11th Cir.         2010) .       In deciding

motions         for      reconsideration            in    criminal              cases,    courts      use         the

standards            applicable         to     such motions           filed       in   civil     cases      under

                                                                \\
Federal Rule of Civil Procedure 59.                                  The only grounds for granting

a Rule 59 motion are newly discovered evidence or manifest errors
                             tr
of   law      or     fact.        Arthur v.       King,        500     F.3d      1335,    1343    (11th Cir.

2007)        (quotations and citations omitted) .
    Case 1:15-cr-00063-DHB-BKE Document 163 Filed 07/30/20 Page 2 of 2



         Here,     Smith argues that the Court erred in determining that

it is constrained to follow the applicable policy statement of the

United States Sentencing Commission in U.S.S.G. § 1B1.13.                           Smith

points out that other district courts have granted compassionate

release under the catch-all provision of Application Note 1 to the
                                            \\

policy statement, which reads:                   As determined by the Director of

the Bureau of Prisons, there              exists     in   the    defendant's     case    an


extraordinary and compelling reason other than, or in combination
         n

with.        the    three    specific    categories       of    relief.    Id.     n.l(D)


(emphasis added).           Those other courts have concluded that the First


Step Act now gives a federal district court discretion to grant

compassionate release for any reason it finds extraordinary and

compelling through U.S.S.G. § 1B1.13 n.l(D).                    This Court recognizes

the split of authority on the issue.                      Nevertheless,      the   Court

adheres to its conclusion that the Policy Statement of U.S.S.G. §

1B1.13 remains valid and applicable as written; thus, the catch

all category of Application Note 1(D) requires the recommendation

of the Director of the Bureau of Prisons.


         Upon      the      foregoing.     Defendant           Smith's    motion        for


reconsideration (doc. no. 162) is DENIED.

         ORDER ENTERED at Augusta, Georgia,                               day of July,

2020 .




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                                                  UNITED STATES DISTRICT

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